                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 JOEY SAWYERS,                              )
                                            )
                      Plaintiff,            )
                                            )
               v.                           )                1:20-CV-719
                                            )
 SURRY COUNTY JAIL, et al.,                 )
                                            )
                      Defendants.           )

                                       ORDER

       The Recommendation of the United States Magistrate Judge was filed in

accordance with 28 U.S.C. § 636(b) and the Clerk served the Recommendation on the

plaintiff. No objections were filed. After consideration of the record, the Court hereby

adopts the Magistrate Judge’s Recommendation.

       It is ORDERED AND ADJUDGED that this action is filed and dismissed sua

sponte without prejudice to plaintiff filing a new complaint, on the proper § 1983 forms,

which corrects the defects cited in the Magistrate Judge’s Recommendation.

      This the 16th day of October, 2020.




                                          __________________________________
                                           UNITED STATES DISTRICT JUDGE




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